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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

               v.                                    Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                    Defendant.


                                            NOTICE

       At the status conference on April 15, 2019, and in its scheduling order (ECF No. 11), the

Court ordered the parties to submit their positions regarding the need for an order under Local

Criminal Rule 57.7(c) and the need for a juror questionnaire. Defendant Gregory Craig hereby

gives notice of his positions on these matters, which are as follows:

       First, Mr. Craig does not believe that a special order under Local Criminal Rule 57.7(c)

governing extrajudicial statements by parties, witnesses and attorneys is needed at this time. The

requirements of Local Rule 57.7(b) are sufficient to protect Mr. Craig’s right to a fair trial and

the due administration of justice in this case. The parties have conferred and the government has

indicated that it agrees no order under Local Rule 57.7(c) is needed.

       Second, upon careful consideration, given the amount of media attention that this case is

likely to generate in the coming months, Mr. Craig requests that the Court use a jury

questionnaire in advance of jury selection. The questionnaire that this Court contemplated using

in the Manafort trial (Case No. 17-cr-00201-ABJ, ECF No. 400) will provide a useful template,

although it could likely be shortened for purposes of this case. Mr. Craig understands that the

government objects to the use of a jury questionnaire, but if the Court agrees with Mr. Craig that
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a questionnaire is advisable, defense counsel will work with the government to prepare a joint

proposed jury questionnaire on any schedule that the Court prescribes.


Dated: April 23, 2019                            Respectfully submitted,


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                                                 Attorneys for Defendant Gregory B. Craig
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on April 23, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF Service.


                                                /s/ Ezra B. Marcus
                                                Ezra B. Marcus
